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                                UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF NORTH CAROLINA
                                    BRYSON CITY DIVISION

                                              DOCKET NO. 2:13CR12

     UNITED STATES OF AMERICA,                                   )
                                                                 )
                            Plaintiff,                           )
                                                                 )             CONSENT ORDER AND
                    v.                                           )           JUDGMENT OF FORFEITURE
                                                                 )
     1) JACKIE LEE RATTLER,                                      )
                                                                 )
                           Defendant.                            )


             WHEREAS, the defendant, JACKIE LEE RATTLER, has entered into a plea agreement
     (incorporated by reference herein) with the United States and has voluntarily pleaded guilty
     pursuant to Federal Rule of Criminal Procedure 11 to one or more criminal offenses under which
     forfeiture may be ordered;

             WHEREAS, the defendant and the United States stipulate and agree that the property
     described below constitutes property derived from or traceable to proceeds of the defendant's
     offense(s) herein; property involved in the offenses, or any property traceable to such property;
     and/or property used in any manner to facilitate the commission of such offense(s); or substitute
     property for which under 21 U.S.C. § 853(p) and Fed. R. Crim. P. 32.2(e); and is therefore subject
     to forfeiture pursuant to 21 U.S.C. § 853, 18 U.S.C. § 924(d), and/or 28 U.S.C. § 2461(c),
     provided, however, that such forfeiture is subject to any and all third party claims and interests,
     pending final adjudication herein;

             WHEREAS, the defendant herein waives the requirements of Federal Rules of Criminal
     Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
     announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
     against defendant;

            WHEREAS, pursuant to Federal Rules of Criminal Procedure 32.2(b)(1) & (c)(2), the
     Court finds that there is the requisite nexus between the property and the offense(s) to which the
     defendant has pleaded guilty and that the defendant has a legal or possessory interest in the
     property;

            WHEREAS, the defendant withdraws any claim previously submitted in response to an
     administrative forfeiture or civil forfeiture proceeding concerning any of the property described
     below. If the defendant has not previously submitted such a claim, the defendant hereby waives all


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right to do so. If any administrative forfeiture or civil forfeiture proceeding concerning any of the
property described below has previously been stayed, the defendant hereby consents to a lifting of
the stay and consents to forfeiture;

       WHEREAS, the undersigned United States Magistrate Judge is authorized to enter this
Order by the previous Order of this Court No. 3:05MC302-C (September 8, 2005);

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       The following property is forfeited to the United States:

       Remington Arms Company Shotgun, .410 Caliber, Serial Number: None

       Mossberg Shotgun, .410 Caliber, Serial Number: R868749

       Ruger M77 Mark II Rifle, .223 Caliber, Serial Number: 79020164

       Winchester 94 Rifle, 30-30 Caliber, Serial Number: 5325134

       Ruger M77 Mark II Rifle, .260 Caliber, Serial Number: 78938531

       New England Pardner Shotgun, .20 Gauge, Serial Number: NA126821

       Mossberg 640KB Rifle, .22 Caliber, Serial Number: None

       Heritage MFG Rough Rider Revolver, .22 Caliber, Serial Number: HZ84675

       Walther P22 Pistol, .380 Caliber, Serial Number: L045104

       Approximately 9 Rounds of Remington .22 Caliber Ammunition

       Beretta Pietro S.P.A. 84B Pistol, .380 Caliber Serial Number: B86344Y

       Approximately 3 Rounds of Hornaday Ammunition, .380 Caliber

       Ram-Line Inc. Exactor Pistol, .22 Caliber Serial Number: P57310044

       Unique D2 Pistol, .22 Caliber, Serial Number: 497877

       Smith & Wesson 66 Revolver, .357 Caliber, Serial Number: 9K51249

       Approximately 6 Rounds Assorted Ammunition, .357 Caliber

       Taurus 62 Rifle, .22 Caliber, Serial Number: UF1920


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Savage 67F Shotgun, .410 Caliber, Serial Number: A573188

Taurus 72 Rifle, .22 Caliber, Serial Number: UE1264

Henry Repeating Rifle H001, .22 Caliber, Serial Number: 052442

Winchester 70 Rifle, .243 Caliber, Serial Number: ·G20044388

Winchester 255 Rifle, .22 Caliber, Serial Number: 171746

Browning Rifle, .243 Caliber, Serial Number: 137RN12913

Winchester 9422 Rifle, .22 Caliber, Serial Number: F594360

Browning BPS Shotgun, .20 Gauge, Serial Number: 01048PX162

Winchester 94 Rifle, 30-30 Caliber, Serial Number: 1998499

Ithaca Gun Co. 37 Featherlight Shotgun, .20 Gauge, Serial Number: 371382311

Interarms Rifle, Unknown Caliber, Serial Number: G441009

Savage Rifle, .22 Caliber, Serial Number: None

Winchester 94 Rifle, 30-30 Caliber, Serial Number: 6153035

Unknown Rifle, Unknown Caliber, Serial Number: 292817

Mossberg Rifle, Unknown Rifle, Serial Number: HHC037188

Winchester Shotgun, Unknown Caliber, Serial Number: CE15822

Winchester 1400MKII Shotgun, .12 Gauge, Serial Number: 403234

Winchester 37 Shotgun, .12 Caliber, Serial Number: None

Ruger 96 Rifle, .22 Caliber, Serial Number: 62033849

Winchester 275 Rifle, .22 Caliber, Serial Number: 640536

Winchester 1300 Ranger Shotgun, .12 Gauge, Serial Number: L2330961

Colt Colteer Rifle, .22 Caliber, Serial Number: SC09714

Rogue Rifle Company Inc., Chipmunk Rifle, .22 Caliber, Serial Number: 66863

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        Ruger Standard Pistol, .22 Caliber, Serial Number: 1135839

        Beretta USA Corp 9000S Pistol, .40 Caliber, Serial Number: SN013058

        Davis Industries DM22 Handgun, .22 Caliber, Serial Number: 533175

        North American Arms Guardian Pistol, .22 Caliber, Serial Number: E176758

        Ruger Single Six Revolver, .22 Caliber, Serial Number: 6559187

        Ruger New MDL Sngl SX Revolver, .22 Caliber, Serial Number: 26475949

        Mossberg 835 Ulti-Mag Shotgun, .12 Gauge, Serial Number: UM247866

       The United States Marshal and/or other property custodian for the investigative agency is
authorized to take possession and maintain custody of the above-described tangible property.

        If and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 21 U.S.C. § 853(n), and/or
other applicable law, the United States shall publish notice and provide direct written notice of this
forfeiture.

        As to any firearms and/or ammunition listed above and/or in the charging instrument,
defendant consents to destruction by federal, state, or local law enforcement authorities upon such
legal process as they, in their sole discretion, deem to be legally sufficient, and waives any and all
right to further notice of such process or such destruction.

        Any person, other than the defendant, asserting any legal interest in the property may,
within thirty days of the publication of notice or the receipt of notice, whichever is earlier, petition
the court for a hearing to adjudicate the validity of the alleged interest.

       Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, upon entry of this
Order of Forfeiture, the United States Attorney's Office is authorized to conduct any discovery
needed to identify, locate or dispose of the property, including depositions, interrogatories,
requests for production of documents and to issue subpoenas, pursuant to Rule 45 of the Federal
Rules of Civil Procedure.

        Following the Court's disposition of all timely petitions filed, a final order of forfeiture
shall be entered, as provided by Fed. R. Crim. P. 32.2(c)(2). If no third party files a timely petition,
this order shall become the final order and judgment of forfeiture, as provided by Fed. R. Crim. P.
32.2(c)(2), and the United States shall have clear title to the property, and shall dispose of the
property according to law. Pursuant to Rule 32.2(b)(4)(A), the defendant consents that this order
shall be final as to defendant upon filing.



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    SO AGREED:



           D. PRITCHARD
       istant United States Attorney




    Attorney for Defendant



           Signed this the   \~    day of ~~                    , 2013.


                                              DENNIS L. HOWELL
                                              UNITED STATES MAGISTRATE JUDGE
                                              WESTERN DICTRICT OF NORTH CAROLINA




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